                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


  D&Z AUCTION RESELLERS, LLC. AND
  GUSTAVO A. MORENO PONCE                               CIVIL NO. 19-cv-01242-WGY

         Plaintiffs
                                                        COPYRIGHT INFRINGEMENT
         v.                                               VIOLATION OF DIGITAL
                                                            MILLENNIUM ACT
  MEDI DATA CORPORATION,
  LUIS DURÁN RIVERA,                                      JURY TRIAL REQUESTED
  GENARO DURÁN,
  MICRO MERCHANT SYSTEMS
  NUESTRA FARMACIA SAN FRANCISCO, LLC,
  SUPER FARMACIA REBECA
  SUPER FARMACIA FAMILIAR,
  FARMACIA JIREH
  FARMACIA LA NUEVA BARCELONETA,
  FARMACIA CUQUIMAR,
  FARMACIA DORADO
  EMPRESAS ALVASIE, INC. (FARMACIA
  ELDA),
  FARMACIA SAN ANTONIO,
  VILMA L. MARTINEZ, JAIME LUGO AND
  THEIR CONJUGAL PARTNERSHIP DBA
  FARMACIA CAMPO ALEGRE,
  FARMACIA LOS ANGELES,
  FARMACIA ORTEGA,
  FARMACIA ISOLTE DRUG,
  ESTEVES EXPRESS PHARMACY,
  FARMACIA MALEZA EXPRESS,
  FARMACIA MARILYN,
  A, B, & C;
  X, Y & Z.

         Defendants


                                  COMPLAINT

TO THE HONORABLE COURT:

Comes now Plaintiff, D & Z Auction Resellers, LLC, through undersigned attorneys and

very respectfully brings this action for copyright infringement, violation of DMCA



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Circumvention provisions, Computer Fraud and Abuse Act, against the above captioned

defendants as follows:

                 NATURE OF ACTION, JURISDICTION AND VENUE

        1. This is an action to recover damages for defendants’ willful acts of copyright

infringement arising under the 1976 Copyright Act, as amended, 17 U.S.C. §101, et seq.;

for violation of the anti-circumvention measures, under the Digital Millennium Copyright

Act, 17 U.S.C. §1201(a)(2).

       2. This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,

1338(a), 1338(b) and pursuant to the U.S. Copyright Act, 17 U.S.C. §501(b).

        3. Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(1), (b)(2) and

(c)(2) and 28 U.S.C. §1400(a) because this is the district in which defendants reside or are

authorized to do business; a substantial part of all infringing actions have occurred and

continue to occur in this district; and the property related to these claims is found in this

district, and all claims arose in this District.

                                         THE PARTIES

        4. Plaintiff D&Z Auction Resellers, LLC is a limited liability company created

under the laws of the Commonwealth of Puerto Rico (registration number 311216) with

offices located in Road 685, Tierras Nuevas, Manatí, Puerto Rico 00674.

        5. Plaintiff Gustavo Moreno is the owner and copyright claimant of the computer

program “PharmaScan”; registered in the U.S.Copyright Office under certificate number

TXu-373435 since June 5, 1989.

        6. Defendant Medi Data Corporation is a corporation created and registered under

the laws of the Commonwealth of Puerto Rico, registration number 136726, with offices

located at Calle Reparto Piñeiro #22 Urb Piñeiro, Guaynabo PR 00969.



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       7.   Defendant Luis Durán Rivera worked for companies owned by Moreno,

including D&Z Auction Resellers, LLC and is currently an employee of Medi Data Corp.

       8. Defendant Genaro Durán worked for companies owned by Moreno, including

D&Z Auction Resellers, LLC and is currently an employee of Medi Data Corp.

       9. Defendant Micro Merchant Systems is, upon information and belief, a New York

company with main offices in 6800 Jericho Tpke (203E), Syosset, NY 11791.          10.

Defendant Nuestra Farmacia San Francisco, LLC is a limited liability company registered

under the laws of the Commonwealth of Puerto Rico, registry number 340290, with

resident agent Carlos Ruiz Acevedo and address at Road 402, Urb. Hacienda Libertad, B-

9, Añasco P.R. 00610. It owns and operates the pharmacy Nuestra Farmacia San Francisco,

located at #166 Calle Colón, Aguada, Puerto Rico 00602.

       11. Defendant Super Farmacia Rebeca, Inc. is a corporation registered under the

laws of the Commonwealth of Puerto Rico, registry number 347713, with resident agent

Dalila Bula Maysonet and address as Reparto Monte Cristo, Road 110, km..3, Aguadilla,

Puerto Rico 00605. The corporation owns and operates the pharmacy Super Farmacia

Rebeca, located at Ave. Noel Estrada #80, Isabela, Puerto Rico 00662.

       12. Defendant Super Farmacia Familiar is a pharmacy located in the city of Moca,

Puerto Rico owned by Gladys Vélez, a licensed pharmacist. Its physical address is Road

111, Int.420, Barrio Voladoras, Moca, P.R. 00676.

       13. Defendant Farmacia Jireh, Inc. is a corporation registered under the laws of the

Commonwealth of Puerto Rico, registry number 169155, with resident agent Victor

Maysonet, with address Urb. Valle de Añasco 213, Añasco, PR 00610.. It owns and

operates a pharmacy located in the city of Aguadilla, Puerto Rico. The pharmacy's physical

address is Carretera No. 2, km. 122, Caimital Alto, Aguadilla, Puerto Rico.



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       14. Defendants Farmacia La Nueva Barceloneta; Farmacia Cuquimar; Farmacia

Dorado; Farmacia San Antonio; Vilma Martíntez, Jaime Lugo and their Conjugal

Partnership d/b/a Farmacia Campo Alegre; Farmacia Los Angeles; Farmacia Ortega;

Farmacia Islote Drug; Farmacia Express Pharmacy; Farmacia Maleza Express; and

Farmacia Marilyn are all pharmacies located in Puerto Rico.

       15. Defendant Empresas Alvasie, Inc. is a corporation registered under the laws of

the Commonwealth of Puerto Rico, registry number 76255, with resident agent Elda Sierra

Meléndez at Road #2, km. 44.5 Barrio Cantera, Manati, Puerto Rico 00674. The

corporation owns and operates Farmacia Elda, located at Road #2, km 44.6, Barrio Cantera,

Manati, Puerto Rico 00674.

       16. Defendants A, B, And C are, corporations or companies that may be liable to

Plaintiffs Moreno and D & Z Auction Resellers, LLLC for the facts alleged in the present

Complaint but at this moment their names and addresses are unknown.

       17. Defendants Insurance companies X, Y, and Z are insurance companies that

may be responsible to Plaintiffs for the facts alleged in the present Complaint but, at this

moment, their names and addresses are unknown.

                                       THE FACTS

       18. Plaintiff Gustavo A. Moreno Ponce created and is the owner of a software

program called PharmaScan that allows users to manage inventory, patient's profile,

allergies, drug-drug interaction, patient education monographs, prescription auxiliary label

warnings, duplicate therapy, accounts receivable/payable, digital signature and document

scanning and imaging, payment reconciliation.

       19. The program PharmaScan is duly registered in the U.S. Copyright Office at

least since June 5, 1989.



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       20. Since its creation, Moreno has licensed his program to pharmacies through

different businesses or corporations of his own. Among the names, businesses, and

corporations under which he has licensed the use of PharmaScan since its creation in 1989

are: MNC Corp., Moreno Computer Consultants and D&Z Auction Resellers, Corp/LLC.

       21. Defendants Luis Duran and Genaro Durán were employees of MNC Corp,

Moreno Computer Consultants and/or D&Z Auction Resellers. Among their

responsibilities as employees, they had access to the PharmaScan program and knew how

to install, operate, delete, maintain and service said program in the computers of

subscribing pharmacies. They also had access to hardware required for the operation and

maintenance of the program in subscribing pharmacies.

       22. Both defendant Luis Durán and Genaro Duran resigned from Moreno related

companies in 2016.

       23. Defendant Luis Duran was hired by Defendant Medi Data Corp. immediately

after resigning from the Moreno related companies.

       24. Upon information and belief, Luis Duran retained hardware components that

granted him access to the hardware and computer programs of the Moreno related

companies, including access to PharmaScan.

       25. Upon information and belief, immediately after joining defendant company

Medi Data Corp., defendant Luis Duran contacted pharmacies he had served while under

the Moreno companies’ employment and offered the products of his new employer.

       26. Upon information and belief, Defendant Luis Duran informed his formerly

served pharmacies that the data under PharmaScan program encryption could be retrieved

and transferred into the new services program he was selling for the benefit of his new




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employer Medi Data Systems, without the need to request and obtain plaintiffs'

authorization.

       27. Upon information and belief, Defendant Luis Duran, oftentimes aided by

Defendant Genaro Duran, and Carlos Cortes, an employee of Micro Merchant Systems,

unlawfully accessed the PharmaScan program, copied it to another computer and ran it to

access the encrypted data related to clients purchase and consumption history. Defendants

Luis and Genaro Duran de-encrypted the data and transferred it to the client’s new servers,

saving hundreds of hours in data entry for the new programs.

       28. Upon information and belief, Defendants Luis Duran, Genaro Duran, and

Carlos Cortes, an employee of Micro Merchant Systems, circumvented the encryption

program through the use of unlawfully retained hardware components – security keys –

and software knowledge from their days as employees of the Moreno related companies

for the benefit their new employer and to the detriment of the Moreno related companies.

       29. Upon information and belief defendant Micro Merchant Systems, through its

employee Carlos Cortés, was present at the pharmacies and assisted defendants Duran in

performing the acts detailed in the preceding paragraphs.

       30. Micro Merchant Systems, through its employee Carlos Cortés, was present at

the pharmacies and provided programmers assistance to circumvent plaintiffs' software

security implementations.

       31. On March 16, 2016, plaintiffs terminated Nuestra Farmacia San Francisco,

LLC's license to use Pharmascan.

       32. Defendants Luis Durán and Genaro Durán, as employees of MNC Corp. had

provided advisory and maintenance services to Defendant Nuestra Farmacia San Francisco

as required and established under the PharmaScan license agreement.



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         33. The license to use PharmaScan establishes that upon termination of the license,

the licensee shall cease using the program; shall return the security key that allowed access

to the program; and shall have personnel of licensor access its computers to delete and

remove the program and its data from licensee’s computers.          Furthermore, the license

agreement states that any third-party access to the program, its software and/or data will

automatically terminate the license agreement between the parties.

         34. Upon information and belief, Defendant Nuestra Farmacia San Francisco

accessed and utilized the program PharmaScan after the termination of its license for

purposes beyond access to the data.

         35. Upon information and belief, Defendant Nuestra Farmacia San Francisco, aided

by Defendants Luis and Genaro Duran, made unauthorized copies of the program

PharmaScan after the termination of the license.

         36. The licenses for all other defendants were similarly terminated on various dates:

Defendants Farmacia Rebeca, Inc. (4/6/2016), Super Farmacia Familiar (4/13/2016),

Farmacia Jireh, Inc. (4/19/2016) Farmacia Ferrari Inc. (5/16/2016), Farmacia La Nueva

Barceloneta (6/14/2016), Farmacia Cuquimar (6/14/2016), Farmacia Dorado (6/14/2016),

Farmacia San Antonio (6/28/2016), Farmacia Campo Alegre (9/2/2016), Farmacia Los

Angeles (12/31/2016), Farmacia Ortega (1/10/2017), Farmacia Islote Drug (2/16/2017),

Farmacia Express Pharmacy (3/3/2017), Farmacia Maleza Express (3/3/2017), Farmacia

Marilyn and Farmacia Los Pinos.

         37. The facts alleged as to Nuestra Farmacia San Francisco are alleged as to each

of the defendants mentioned in the preceding paragraph, but with the different termination

dates.

                               FIRST CAUSE OF ACTION
                              COPYRIGHT INFRINGEMENT


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          40.     The owner of a work has the exclusive right to reproduce the copyrighted

work.

          41.     Plaintiffs' PharmaScan software is duly copyrighted in the U.S. Copyright

Office.

          42.     Defendants had access to the software.

          43.     Defendants did not have permission from plaintiffs to reproduce the

PharmaScan software.

          44.     Defendants willfully and unlawfully reproduced plaintiffs' PharmaScan

software.

                            SECOND CAUSE OF ACTION
                    VIOLATION REGARDING CIRCUMVENTION OF
                           TECHNOLOGICAL MEASURES
                                 17 U.S.C. §1201

          45. The law provides that: "No person shall circumvent a technological measure

that effectively controls access to a work protected under this title.

          46. Defendants circumvented the technological measures in plaintiffs' software to

extract information from the system without authorization.

                                        JURY DEMAND

          47. Plaintiffs hereby request trial by jury.


WHEREFORE, plaintiffs request that the Court enter judgment ordering defendants to:

pay damages, be there actual damages suffered by Plaintiffs as a consequence of

Defendants’ infringements as well as all profits derived by Defendants related to the

infringements, or statutory damages, at Plaintiffs selection, for the willful infringement of

Plaintiffs’ exclusive rights of reproduction, for the circumvention of plaintiffs' software

protection measures and damages for the violation to the Computer Fraud and Abuse Act.


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RESPECTFULLY SUBMITTED

In San Juan, Puerto Rico, this 7 October 2019.

                                            s/ José A. Hernández Mayoral
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I CERTIFY that service a copy of this motion has been served on opposing
counsel through the CM/ECF system.


                                            s/ José A. Hernández Mayoral




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